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11   Attorneys for Defendants Tesla, Inc., Elon Musk,
     Brad W. Buss, Robyn Denholm, Ira Ehrenpreis,
12   Antonio J. Gracias, James Murdoch, Kimbal Musk,
     And Linda Johnson Rice
13

14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17

18
     IN RE TESLA, INC. SECURITIES                         Case No. 3:18-cv-04865-EMC
19   LITIGATION
                                                          JOINT STIPULATION REGARDING COURT
20                                                        ORDER NO. 387
21

22
            Pursuant to this Court’s Order (Dkt. No. 419), Lead Plaintiff Glen Littleton (“Plaintiff”) and
23
     Defendants Tesla, Inc., Elon R. Musk, Brad W. Buss, Robyn Denholm, Ira Ehrenpreis, Antonio J.
24
     Gracias, James Murdoch, Kimbal Musk, and Linda Johnson Rice (collectively, “Defendants”)
25
     (collectively, Plaintiff and Defendants are referred to as the “Parties”), by and through their
26
     undersigned counsel of record, submit the following joint stipulation:
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28

                                                                                         JOINT STIPULATION
                                                                                CASE NO. 18-CV-04865-EMC
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 1           WHEREAS, Plaintiff moved for Partial Summary Judgment on January 11, 2022 (Dkt. No.

 2   352);

 3           WHEREAS, as this Court noted in its Order Granting In Part and Denying In Part Plaintiff

 4   Littleton’s Motion For Partial Summary Judgment (Dkt. No. 387), Defendants made several

 5   requests to seal in conjunction with the summary judgment briefing;

 6           WHEREAS, the Court denied Tesla’s requests to seal without prejudice (Dkt. No. 387),

 7   directing Defendants to refile a Motion to Seal if the Parties could not agree on which materials

 8   should remain sealed;

 9           WHEREAS, the Parties could not come to an agreement, and Defendants accordingly filed

10   a Renewed Motion to Seal (Dkt. No. 405);

11           WHEREAS, Defendants’ Renewed Motion to Seal (Dkt. No. 405) did not request to seal

12   any portion the Court’s Order Granting In Part and Denying In Part Plaintiff Littleton’s Motion For

13   Partial Summary Judgment (Dkt. No. 387);

14           WHEREAS, on May 9, 2022, the Court ordered the Parties to meet and confer on what

15   portions of the Court’s Order Granting In Part and Denying In Part Plaintiff Littleton’s Motion For

16   Partial Summary Judgment (Dkt. No. 387) should be sealed (Dkt. No. 419);

17           WHEREAS, the Parties agree that no portion of the Court’s Order Granting In Part and

18   Denying In Part Plaintiff Littleton’s Motion For Partial Summary Judgment (Dkt. No. 387) needs

19   to be sealed;

20           NOW, THEREFORE, the Parties hereby submit their agreement that no portion of Court’s

21   Order Granting In Part and Denying In Part Plaintiff Littleton’s Motion For Partial Summary

22   Judgment (Dkt. No. 387) need be permanently sealed.

23
     DATED: May 10, 2022                  LEVI & KORSINSKY, LLP
24

25                                        By: /s/ Nicholas I. Porritt
                                             Nicholas I. Porritt (appearing pro hac vice)
26                                           Attorneys for Lead Plaintiff Glen Littleton and Lead
                                             Counsel for the Class
27

28

                                                                                         JOINT STIPULATION
                                                     2                          CASE NO. 18-CV-04865-EMC
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 1   DATED: May 10, 2022                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
 2
                                          By: /s/ Alex Spiro
 3                                           Alex Spiro (appearing pro hac vice)
                                             Attorneys for Tesla, Inc., Elon Musk, Brad W. Buss,
 4                                           Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias,
                                             James Murdoch, Kimbal Musk, And Linda Johnson Rice
 5

 6

 7                                          ATTESTATION

 8          I, Jeanine Zalduendo, am the ECF user whose ID and password are being used to file the

 9   above document. In compliance with Local Rule 5-1(h)(3), I hereby attest that Alex Spiro and

10   Nicholas Porritt have concurred in the filing of the above document.

11                                                              /s/ Jeanine Zalduendo
                                                                Jeanine Zalduendo
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16       5/10/2022
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                                                                                      JOINT STIPULATION
                                                     3                       CASE NO. 18-CV-04865-EMC
